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         EXHIBIT
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              7:20-f                                      .ii ^ ^


         < Map                       Details            Open in Map


          ATTRIBUTES


          Crossing ID
          744538A



          Railroad
          NOGC                                                            I
                                                                          'i


          Street Name
          DERBIGNY ST                                                     I



          Type
          Public



          Quiet Zone
          No



          Milepost
          0003.31




          U.S.DOT RECORDS



          Inventory Record


          Collision Report



          SEND FRA INFO ABOUT THIS CROSSING


          Email


                                                                          I
          REPORT EMERGENCY OR PROBLEM



          ENS: (866) 777-3388

          (Refer to onsite signage or call 911 if above is blank)
